                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA

 v.                                        Criminal No.: 1:24-cr-10090-WGY

 WALTER NORTON


 DEFENDANT WALTER NORTON’S MOTION FOR RECONSIDERATION OF THE
             COURT’S DENIAL OF MOTION TO SUPPRESS

         NOW COMES, the Defendant Walter Norton, (hereinafter, the “Defendant” or “Norton”)

by and through undersigned counsel, and respectfully moves the Court to reconsider its March

10, 2025 ruling denying suppression of evidence seized by the Government upon Defendant’s

arrest on April 3, 2024. In support of this Motion, undersigned counsel submits the following:

                                       Salient Background

         While the Court did not specifically rule on whether or not there was “reasonable

suspicion” to perform an investigative stop of the Defendant, see infra, it is clear from evidence

produced at the Suppression Hearing on March 10, 2025 (hereinafter, the “Hearing”) that there

was not any reasonable suspicion that the Defendant was involved in criminal activity and,

absent relying on other grounds to deny the motion, the Court would more than likely have so

ruled.

         The testimony of the two (2) Government witnesses was that the day of the Defendant’s

arrest was the first time they had ever seen him. See, e.g. Witness Special Agent Ryan P. Glynn,

(hereinafter, “SA Glynn”) Hearing Transcript (hereinafter, “T”), p. 17 (never had seen Norton

prior to April 3, 2025). SA Glynn testified that he could not see Apartment 2, which was where

they believed co-defendant Hunter resided. T. 39. He testified that it was Agent Higgins


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(hereinafter, “Higgins”), who never testified, who saw Norton “enter … Apartment 2” and

radioed that information to him, T. 24, and Higgins again who saw Norton exit “Apartment 2”,

T. 25. As Defendant’s exhibits demonstrate, however, Higgins was not in a position to see the

doorway to Apartment 2, but only the gateway that led to a side alley where the entrance to

Apartment 2 was located. These are some of the exhibits the Court was perusing during the

Hearing, showing the photo of Norton carrying a duffle bag on Thorndike Street, obviously taken

from across Revere Street, where Higgins was parked on the other side of Revere Street. and at

an angle facing Thorndike Street. Thus, it is obvious from the record that Higgins could only see

the gate that led to the opposite side of the house from Thorndike Street, which gate the agents

were signifying was “Apartment 2” (the money-laundering action taking place on Thorndike

Street and thus the street the agents were monitoring). Other exhibits submitted by the Defendant

show without question that the gateway to Apartment 2 also led to another door and

consequently it was impossible from Higgins’ position for him to observe where Norton went

once Norton went through the gateway. SA Glynn also testified that no agents knew at the time

Norton arrived on April 3, 2025 what was behind the door marked Apartment 2 nor where it led

to. T. 32. Moreover, it is obvious that several different people lived in Apartment 2; the same

people listed in another lease agreement from New Hampshire that is part of the exhibits.

Consequently, there was not evidence produced that Norton had entered Apartment 2, and even

if he did, who he may have visited there.1 In fact, the agents had never seen Hunter and Norton

together. T. 41.




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 The Court noted that there’s only a “reasonable inference” that Norton went into Apartment 2,
not that Norton in fact went into that door. See T. 72.
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       Although the Court avoided making a specific ruling on the reasonable suspicion of

criminal activity argument, Defendant submits that not only is there no support for such a finding

in the Hearing record, whatever evidence that would tend to support such a finding is, in the

Court’s view, “pretty thin”, T. 72, 73. In fact, the Court conceded that the agents were going to

pull over the Defendant “no matter what” once he left the house although it was nothing more

than on “a hunch”. T. 74. In the final analysis, the Court denied the motion to suppress for the

simple reason that the Defendant eventually had committed “clear motor vehicle violations” and

that alone justified turning on the trooper’s “blue lights” that effectively seized the Defendant

with an order to pull over. T. 76.

1.     Traffic violation.

       While Massachusetts State Police Trooper Xhuljo Hysa (hereinafter, “Trooper Hysa”)

testified that Norton made illegal lane changes, it should be noted the Government did not turn

over the cruiser mounted camera (hereinafter, “CMC”) video. The Government only turned over

Trooper Hysa’s body camera that begins with him getting out of his cruiser to arrest Norton.

Upon further request, the Government claimed on two (2) separate occasions that the cruiser

Trooper Hysa was operating on the day of Norton’s arrest did not have a CMC.

       Trooper Hysa testified that the traffic violation at issue as a reason to stop Norton was

that Defendant “was always in the left lane and at a red light he moved from the left lane all the

way into the right lane, unexpectedly, and in my eyes that’s a marked-lane violation, an unsafe

mark-lane violation.” T. 53. Trooper Hysa said that a marked lane violation is “basically crossing

from one lane to another unsafely. You’ve got to maintain that lane.” Id. Trooper Hysa further

testified “that’s a marked-lane violation under Massachusetts state traffic laws.” T. 54.




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       First, what Trooper Hysa claimed the Defendant did is not a traffic violation under

Massachusetts law. Pursuant to M.G.L. c. 89 § 4A a marked lane violation occurs only when he

changes lanes after the driver “first ascertain[s] if such movement can be made with safety.”

Obviously, Norton did ascertain such and Trooper Hysa never testified that the lane change

caused any traffic problems but only that in his eyes it was dangerous. It was a subjective

observation motivated by needing some stated excuse for carrying out the order to stop Norton at

all costs. In Commonwealth v. Larose, 483 Mass. 323 (2019) the SJC consistently held that a

marked lane violation under the statute occurs only if “a driver” fails to ascertain “the safety of

a” lane change “before executing that movement.” Id. 329, 330, 331, 332. Hysa never said what

exactly the Defendant did that violated this statute used as a pretext to stop him.

       Second, Trooper Hysa was driving a marked state police cruiser. Public information is

that all marked state police cruisers are equipped with CMCs. According to Massachusetts State

Police General Order dated November 10, 2021, Adm-35, CMCs are both turned on

automatically and can also be turned on by hand. Troopers “shall activate the CMC in

conjunction with official law enforcement duties while … on regular tours of duty.” Troopers

are “required to record contact with civilians regardless of the number of CMC and/or BWC

[body worn cameras] members present and recording …” during “traffic and criminal

enforcement stops, in progress, violations of law, pursuits, investigative person stops” etcetera.

No CMC “footage or recordings shall be deleted/destroyed while any related investigation is still

open/pending”, including until the time appeals are exhausted. Troopers “failing to record a

required incident shall document the circumstances in the applicable report and articulate the

reason(s) the incident was not recorded”. (Cf. Larose, supra at 325 (noting that the traffic

violation was captured on a CMC)).



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       The Government failed to supply in mandatory discovery the CMC of Trooper Hysa’s

vehicle, nor any documentation of why the CMC failed to record the incident, especially the

alleged traffic violation that is now at the center of the instant motion.

       The Court credited Trooper Hysa’s testimony as to the traffic stop. However, at the time

neither the parties nor Court were aware that the Massachusetts State Police failed to turn over

the CMC that would have verified the traffic violation that Trooper Hysa was claiming occurred,

justifying his stop of the Defendant. The Government only turned over Trooper Hysa’s body

worn camera, which begins only at the arrest. It is highly suspect, and affects Trooper Hysa’s

credibility, that there is a failure to turn over the CMC that would objectively demonstrate

whether or not there was a traffic violation as claimed by Trooper Hysa.

       The Court is referred to United States v. $1,032,980.00, 855 F.Supp.2d 678 (N.D. Ohio

2012) in its holding that, although Whren v. United States, 517 U.S. 806 (1996) held that

subjective reasons for a traffic stop are irrelevant, “an officer’s subjective motivations may

nevertheless be relevant in assessing the credibility of the officer in the matter of whether an

actual traffic violation was truly observed, or there was no genuine traffic violation, and the stop

was pretextual.” 855 F.Supp. at 692. In this case, of course, both witnesses at the hearing

testified that from the time the Defendant was allegedly in co-defendant Hunter’s residence they

were going to conduct an investigatory stop of the Defendant. That was Trooper Hysa’s

subjective reason for the stop; they were going to stop the Defendant one way or the other.2 They

were stopping the Defendant “on a ‘hunch’”. Id. 693. The judge in the referenced case cited

above noted that “despite the availability of video recording technology, the Troopers only



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 Of course, the Court has already held, in effect or by inference, that Trooper Hysa had no
constitutional “reasonable suspicion” that the Defendant was involved in criminal activity with
Hunter.
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initiated video recording of their pursuit of the Silverado after they decided to stop the vehicle,

approximately at the moment they and the Silverado pulled off the side of the highway.” Id. 695.

The district judge found this fact disturbing and affecting the credibility of the testifying state

trooper because the lack of the video “exacerbates the credibility questions”. Id. 695-696.

       The Court should reconsider the credibility of Trooper Hysa because the Government

failed to turn over the CMC footage that would have objectively depicted the alleged traffic

violation committed by the Defendant that Trooper Hysa claims warranted the stop. If the

Government claims there is no such recording, then the hearing ought to be reopened to find out

why no such recording exists and whether there is a report by Trooper Hysa that shows why the

incident wasn’t recorded on the CMC of his cruiser. See Department of State Police General

Order Adm-35 11-10-21, (“Members failing to record a required incident shall document the

circumstances in the applicable report and articulate reason(s) the incident was not recorded”). If

the Government insists on claiming that the cruiser did not have a CMC, then the Defendant

ought to be given an opportunity to inspect the cruiser and to find out why it did not have one

and why that particular cruiser was used when it was ill-equipped to comport with the state

police rules on camera use in investigations. This should include the right to inspect the

Massachusetts State Police records showing all marked cruisers that had CMCs installed from

the beginning of the program. In other words, since whether the cruiser did or did not have a

CMC is crucial to the decision of the Court, the Defendant ought to have access to inspect the

cruiser itself and all records pertaining to the installation of CMCs on State police cruisers. In

that respect, a relevant order ought to be issued by the Court.

       The lack of CMC footage is potential exculpatory evidence and is a serious consideration

as to Trooper Hysa’s credibility that he observed the Defendant commit a traffic offense that



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gave him reason to stop the Defendant, leading to the instant case. At the very least, the Court

should consider that exculpatory evidence may have been withheld by the Government.

2.      Lack of reasonable suspicion made following Defendant a violation of due process
        and equal protection of the law.

        The Court has ruled that the alleged traffic violation witnessed by Trooper Hysa was

sufficient reason to initiate the stop of the Defendant, leading to the instant charges. The Court

found, in effect or by inference, that there was not sufficient reasonable suspicion of criminal

activity by the Defendant at 354 Revere Street to support an investigatory stop.

        Despite the lack of reasonable suspicion that the Defendant had participated in any

criminal activity at 354 Revere Street agents followed him anyway with the stated objective of

stopping him for investigation. In other words, before the Defendant even left 354 Revere Street,

agents were going to subvert the reasonable suspicion of criminal activity rule required under the

Fourth Amendment and stop the Defendant despite not having the evidence required by the law.

        This action by the agents violated the Defendant’s substantive and procedural due process

rights, besides his equal protection rights. The Defendant should not have been followed by

agents who testified they were going to stop the Defendant one way or the other. Had the

Defendant not been followed, the instant charges stemming from the alleged traffic stop would

not have occurred. Defendant’s substantive due process rights are focused on his rights under the

Fourth Amendment to be free from unreasonable searches and seizures, while his procedural due

process rights are focused on the agents’ subversion of jurisprudence that requires reasonable

suspicion of criminal activity before initiating a vehicle stop. In the latter case, there is little

doubt that the real reason behind the stop was subjective, since the agents had decided to stop the

Defendant for suspicion of criminal activity while he was allegedly still in co-defendant Hunter’s

alleged apartment, albeit the Government claims observation of a traffic violation.

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        “The substantive due process guarantee functions to protect individuals from particularly

offensive actions on the part of government officials, even when the government employs

facially neutral procedures in carrying out those actions.” Pagan v. Calderon, 448 F.3d 16, 32

(1st Cir. 2006) (citing the authority of Daniels v. Williams, 474 U.S. 327, 331 (1986). “‘[T]he

Due Process Clause of the Fourteenth Amendment was intended to prevent government “from

abusing [its] power, or employing it as an instrument of oppression.”’” Collins v. Harker

Heights, 503 U.S. 115,126 (1992) (citing DeShaney v. Winnebago County Dept. of Social

Services, 489 U.S. 189, 196 (1989) (alterations in original). A procedural due process violation

can be established when a person identifies “a protected liberty or property interest and” alleges

that, in this case, law enforcement officers, “deprived [him] of that interest without

constitutionally adequate process.” Gonzales-Droz v. Gonzalez-Colon, 660 F.3d 1, 13 (1st Cir.

2011). “The equal protection guarantee of the Fourteenth Amendment prohibits the state from

‘deny[ing] any person within its jurisdiction the equal protection of the laws.’ U.S. Const.

amend. XIV, § 1. With reference to a governmental action, this language has been interpreted to

mean that “all persons similarly situated should be treated alike. ... Its protections extend to both

legislative and executive conduct.” Pagan, supra, 448 F.3d at 34 (cites omitted) (alterations in

original).

        There is little doubt that the events that occurred on April 3, 2024 at 354 Revere Street

involving the Defendant’s alleged twenty (20) minutes at that address did not amount to the

reasonable suspicion that he was involved in criminal activity as required by Fourth Amendment

jurisprudence to authorize an investigative stop. Agents knew, or should have known, this. What

the agents did was subvert the Defendant’s Fourth Amendment rights, which required reasonable

suspicion, and instead violated those rights by following him until he would eventually violate



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even the most insignificant traffic law, which Defendant claims and the statute itself

demonstrates he did not violate.

       That scenario is a violation of the Defendant’s rights to due process. He had not done

anything to warrant suspicion of criminal activity under the mandates of jurisprudence. He had

not done anything at Revere Street that would have given agents a reason to stop him. He had not

done anything to warrant being followed with the object of stopping him at some point. He had

not done anything that warranted being seized and searched. He had a due process right to have

his rights under the Fourth Amendment to be honored and not be stopped for investigation into

criminal activity, the obvious reason he was stopped, which is what the two (2) witnesses

confirmed in their testimony. Moreover, it is obvious that all citizens travelling on the highways

in Massachusetts who commit traffic violations are recorded on CMCs since all cruisers have

such installed. These cameras provide objective proof of the violation. In this case, for some

unstated reason, Defendant’s alleged traffic violation was not recorded by a CMC. Defendant

had a right to be treated equally as other drivers in the Commonwealth by having his alleged

traffic violation recorded.

       Most respectfully, counsel directs the Court’s attention to Justice Budd’s concurrence

(joined by Justice Lenk) in Commonwealth v. Long, 485 Mass. 711 (2020) and not only requests

that the Court consider the erudite discussion of the unconstitutionality of pretextual stops, but

also to adopt Justice Budd’s suggestion to do away with such subversion of motorist’s Fourth

Amendment rights. While the Long case involved unconstitutional racial bias in a pretextual

stop, the same principles pertain to the instant case.

       The majority noted, of course, that “the plethora of potential traffic violations is such that

most drivers are unable to avoid committing minor traffic violations on a routine basis, thereby



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affording officers wide discretion in the enforcement of traffic laws.” Id. 718. See also, id. 739

(“‘[v]ery few drivers can traverse any appreciable distance without violating some traffic

violation’”) (citations omitted) (alteration in original).The two concurring justices found,

however, that pretextual stops used “as a means to act on hunches” and are not supported “by

reasonable suspicion” are unconstitutional “because they allow for the investigatory stop of an

individual without reasonable suspicion of the crime sought to be investigated” and that all such

stops ought to be prohibited. Id. 737. “[L]aw enforcement officers have powerful incentives to

use traffic violations as a pretext to conduct investigatory stops.” Id. 739. “[P]olice all over this

country [are being trained] to use traffic violations, which everyone commits the minute you get

into your car, as an excuse to stop and search” in the cited case, people with “dark skin” but also

applicable in general. Id. 740. The concurrence noted that the reasonable suspicion exception for

probable cause mandated under the Fourth Amendment is subverted by a pretextual stop because

it “strips away” the constitutional protection. “[I]f an officer wants to investigate a hunch about

suspected criminal activity in connection with a particular motor vehicle” all the officer has to do

is “simply wait until the driver commits a traffic violation, stop the vehicle based on that

violation, and then attempt to get more information during the stop to corroborate the hunch.” Id.

741-742. This subterfuge “automatically categorizes any stop preceded by a traffic violation as

‘authorized’ and therefore presumptively reasonable, regardless of the actual motivation for the

stop.” Id. 742. Jurisprudence doesn’t allow such stops of pedestrians and shouldn’t be used for

vehicles. Id. 743. “The reasonable suspicion requirement is the linchpin of a valid investigatory

stop [under the reciprocal Commonwealth constitutional amendment]. Using pretext to

circumvent it breaks with our fundamental rules of search and seizure.” Id. 744. The concurrence




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pointed out other state decisions that have condemned pretext, despite contrary jurisprudence,

and held that pretext “is result without reason.” Id.

       The concurrence noted that they were not aware of any cases that were directly on point,

id. 749, but that “as long as we continue to allow pretextual stops, the search and seizure

protections of art. 14 will continue to ring hollow.” Id. 756.

       Counsel suggests it is time to take a definitive stand on pretextual stops and follow the

concurrence in Long and the other state decisions noted therein. The Defendant had a due

process and equal protection right to have his Fourth Amendment rights honored and not have

them subverted for pretextual reasons.

                                            Conclusion

       Because of all the foregoing, the Court ought to reconsider the denial of the suppression

motion and grant said motion. Alternatively, the Court ought to reopen the hearing to allow for

further testimony regarding an alleged lack of a CMC on Trooper Hysa’s cruiser and the Court

ought to issue an order to allow Defendant, through a private investigator, to examine the cruiser

Trooper Hysa used on April 3, 2024 when he arrested the Defendant and to also peruse all State

Police records concerning the installation on each Massachusetts State Police cruiser of a CMC.




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                                                       Respectfully submitted,
                                                       The Defendant,
                                                       Walter Norton,
                                                       By his attorney,

DATED: April 1, 2025
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participants.


DATED: April 1, 2025
                                                       /s/ Richard C. Chambers, Jr., Esq.
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